10/11/2019                                 Finance
                  Case 1:19-cv-01339 Document  1-2Division
                                                     Filed | Rapides Parish Sheriff's
                                                              10/11/19       PageOffice
                                                                                      1 of 1 PageID #: 17


   Home (/) >> Departments (/departments) >> Finance Division



         DEPARTMENTS
   Bonds & Fines (/bonds-and- nes)

                 Civil (/civil)

      Criminal Records (/criminal-
                records)

      Finance (/divisions/ nance)

          Personnel (/personnel)

  Tax Department (/tax-department)




  FINANCE DIVISION
  The Finance Division of the RPSO consists of the General Ledger, Payroll, and
  Purchasing departments and employs ve individuals.
        Mark Thibeaux - Finance O cer - (318) 473-6810
        Sissy Williams - Purchasing - (318) 473-6744
        Kim Ryder - Purchasing - (318) 473-6753
        Stacy McCain - Payroll - (318) 473-6745
        Mary Juneau - Accounts Payable - (318) 442-9292

  Functions of the Accounting Department:
          Bi-monthly payroll of 580 employees
          Accounts payable - checks prepared and paid every Friday
          Purchasing
              1. Purchase supplies
              2. Obtain bid prices as required by law
              3. Issue Purchase Orders on items over $50
          Prepare and monitor annual budget
          Prepare monthly nancial statements
          Invest department funds
          Keep inventory of RPSO Fixed Assets
          Work with external auditors on annual audit


  To report fraud go to this site https://www.lla.la.gov/report-fraud/
  (https://www.lla.la.gov/report-fraud/)


www.rpso.org/divisions/finance                                                                              3/4
